Case 4:19-cv-10132-KMM Document 14 Entered on FLSD Docket 02/27/2020 Page 1 of 1

U.S. Department of Justice
United States Marshals Service

PROCESS RECEIPT AND RETURN

See "Instructions for Service of Process by U.S. Marshal"

 

  

 

PLAINTIFF COURT CASE NUMBER (7
VALENTIN SPATARU 19-CV-10132-KING-BECERRA (7
DEFENDANT TYPE OF PROCESS

SHERIFF RICK RAMSAY, ET AL., SUMMONS & COMPLAINT

 

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

SERVE § SENATOR ANITERE FLORES
11401 SW 40TH STREET, SUITE 465, MIAMI, FL 33165

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

Number of process to be

 

VALENTIN SPATARU

CILK - CENTER FOR INDEPENDENT LIVING
103400 OVERSEAS HWY., #243

KEY LARGO, FL 33037

served with this Form 285

Number of parties to be
served in this case

 

 

Check for service
on U.S.A.

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,

All Telephone Numbers, and Estimated Times Available for Service):

 

[1] PLAINTIFF
(J DEFENDANT

Signature of Attorney other Originator requesting service on behalf of:

 

TELEPHONE NUMBER
305-615-0061

DATE
02/19/2020

 

 

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE

 

   
    

1 acknowledge receipt for the total Total Process | District of District to Signature of
number of process indicated. Origin Serve

(Sign only for USM 285 if more

than one USM 285 is submitted) No. Bo4 No. 004

 

 

 

 

 

wa

rized USMS Deputy or Clerk Date

02/21/2020

 

I hereby certify and return that I [7] have personally served , [] have legal evidence of service, (Aave executed as shown in "Remarks", the process described on the
individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

 

(7) [hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)

 

 

 

Name and title of individual served (if not shown above) Gor Date Time
Lrssette Ve Sq, uct ier leas loli Assis 2 [25 po 1/60 ee
Address (complete only different “4, own above) wo Signature ft U.S. Marshal or Deputy

   

a

 

 

 

 

 

 

 

 

 

Service 50 Total Mileage Charges Forwarding Fee Total Charges Advance Deposits | Amount owed to U.S. Marshal* or
L, bo (including endeavors) (Amount of Refund*)
REMARKS

Zavek lisse

He Via SBuez (: Su sr kyelhe aasisbit | Ruknoriee| ts

 

FILED BY_PE D.C.
FEB 27 2020

ANGELA E. NOBLE
CLERK U.S. DIST. CT.
S. D. OF FLA. - MIAMI

 

 

 

 

PRIOR VERSIONS OF THIS FORM ARE OBSOLETE

Form USM-285
Rev. 11/18
